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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

(1)    PATRICIA THOMPSON, as Personal )
       Representative of the Estate of         )
       MARCONIA LYNN KESSEE                    )
                                               )
             Plaintiff,                        )
                                               )
vs.                                            )         Case No.       CIV-19-113-SLP
                                               )
(1)    BOARD OF COUNTY                         )         (formerly Cleveland County
       COMMISSIONERS FOR                       )         case no. CJ-2019-71)
       CLEVELAND COUNTY, an                    )
       Oklahoma Political Subdivision; et. al. )
    JOINT STIPULATION OF DISMISSAL OF DEFENDANTS CLEVELAND
  COUNTY SHERIFF’S OFFICE AND BOARD OF COUNTY COMMISSIONERS
        FOR CLEVELAND COUNTY ONLY WITHOUT PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties that the

Defendant Cleveland County Sheriff’s Office and Defendant Board of County Commissioners

for Cleveland County only are voluntarily dismissed without prejudice. Plaintiff does not dismiss

any claims against any other parties. As to claims made against Defendant Cleveland County

Sheriff’s Office and Defendant Board of County Commissioners for Cleveland County only,

each party shall bear its own costs and attorney fees.

Respectfully submitted,

s/ Chris Hammons
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 12, 2019 I filed the attached document with the Clerk of

Court. Based on the records currently on file in this case, the Clerk of Court will transmit a Notice

of Electronic Filing to those registered participants of the Electronic Case Filing System.

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